489 F.2d 703
    UNITED STATES of America, Plaintiff-Appellee,v.Jerry S. NIEZEK, Defendant-Appellant.No. 73-2729 Summary Calendar.**Rule 18, 5 Cir.; Isbell Enterprises, Inc.v.Citizens Casualty Company of New York et al., 5 Cir., 1970,431 F.2d 409, PartI.
    United States Court of Appeals, Fifth Circuit.
    Feb. 14, 1974, Rehearing and Rehearing En Banc Denied March 28, 1974.
    
      Everett Lord, Beaumont, Tex., for Sekaly.
      Tanner T. Hunt, Jr., Beaumont, Tex., for Johnson.
      Joe B. Goodwin, Beaumont, Tex., for Niezek.
      Roby Hadden, U.S. Atty., Tyler, Tex., Charles E. Myers, Asst. U.S. Atty., Beaumont, Tex., for plaintiff-appellee.
      Before GEWIN, COLEMAN and MORGAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant Niezek appeals from his conviction on a two-count indictment for violations of Title 18, U.S.C., Sections 1955 and 2, and Title 18, U.S.C., Section 371.  The evidence was submitted on a written stipulation before the District Court, the appellant having waived his trial by jury.  After a careful review of the record, we find no merit in Niezek's contentions that the evidence was insufficient to sustain his conviction on either count, and we affirm as to both counts.
    
    
      2
      Affirmed.
    
    